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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.        2:18-cv-01269-JLS-JCG                                              Date    January 18, 2019
 Title          STM Atlantic N.V. et al v. Dong Yin Development Holdings Limited et al.



 Present: The                 JOSEPHINE L. STATON, U.S. DISTRICT JUDGE
 Honorable


                    Terry Guerrero                                              Alex Joko
                    Deputy Clerk                                       Court Reporter / Recorder


            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):

    Jeffrey Isaacs; Robert Gookin; Y. Paige Shen;           Alison Plessman; Andrew Gray; Ryan Walsh;
          Jerome Friedberg; Adam Kargman                      Jennifer Williams; Mark Scarsi; Thomas
                                                             Arena; Charles Kreindler; Michael Todisco
 Proceedings:         Hearing Re Defendant Milbank, Tweed, Hadley & McCloy LLP's Motion to
                      Dismiss SAC [92]; Defendant China Orient Asset Management (International)
                      Holding Limited's Motion to Dismiss the Second Amended Complaint, or in the
                      alternative, to Stay the Action Pending Arbitration; Joinder in Co-Defendants'
                      Motions [93]; Defendant Ludwig Chang's Motion to Dismiss the Second Amended
                      Complaint; Joinder in Co-Defendants' Motions to Dismiss and in Dong Yin's
                      Alternative Motion to Stay the Action Pending Arbitration [94]; Defendant Dong
                      Yin Development (Holdings) Limited's Motion to Dismiss [95]; Defendant Dong
                      Yin Development (Holdings) Limited's Motion to Stay Pending Arbitration [96];
                      Defendants Shiyue Liu and Yuen-Cheung Wong's Motion to Dismiss/Stay [101]


         Hearing held. Oral arguments heard. All matters taken under submission by the Court.




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                                                             Initials of Preparer      tg


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